           Exhibit 15




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Filed             18-CI-00680   05/31/2019      Diane Thompson, Nelson Circuit Clerk
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